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PROB 22 DOCKET NUMBER (Tran. Court)
(Rev. 2/88) 1:09CR 1016-2 (DLC)

 

TRANSFER OF JURISDICTION
DOCKET NUMBER (Rec. Cow)

 

 

 

NAME AND ADDRESS GF PROBATIONER/SUPERVISED RELEASEE, DISTRICT
Anthony Velez SOUTHERN DISTRICT OF NEW YORK
NAME GF SENTENCING JUDGE

Denise L. Cote, U.S. District Judge

 

 

 

 

 

 

 

 

 

 

 

DATES OF PROBATION/SUPERVISED | FROM TO
RELEASE: 8/24/2018 | 8/23/2023
=
OFFENSE USDC SDNY
BOCUME
Conspiracy to Possess with Intent to Distribute Cocaine va tue, NT
ELECTRONICALLY FILED
PoC e
PART 1 - ORDER TRANSFERRING JURISDICTION DATE FILED: [0[20 £20 Zo

 

 

 

 

 

 

 

 

 

UNITED STATES DISTRICT COURT FOR THE "SOUTHERN DISTRICT OF NEW YORK"

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C, 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the New Jersey
upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period of probation
ot supervised release may be changed by the District Court to which this transfer is made without further inquiry of this
Court.* '

 

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|

10/20/2020 _ DENISE COTE
Date United Btates District Judge

 

*This sentence may be deleted in the discretion of the transferring Court.

 

' PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

 

 

Effective Date United States District Judge

 

 

 

 

 
